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11 WELLS FARGO BANK, N.A., MORTGAGE
   ELECTRONIC REGISTRATION SYSTEMS,
12 INC., and GOLDEN WEST SAVINGS
   ASSOCIATION
13
                                 UNITED STATES DISTRICT COURT
14
                NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
15
   JOHN H. ELLIS,                                 Case No.
16
                   Plaintiff,
17
           vs.
18
   WELLS FARGO BANK, N.A., successor by           NOTICE OF REMOVAL PURSUANT TO
19 merger with Wells Fargo Bank Southwest,        28 U.S.C. § 1331, 1441
   N.A., f/k/a WACHOVIA MORTGAGE, FSB
20 a/k/a WELLS FARGO HOME MORTGAGE,
   f/k/a Wachovia Bank, f/k/a World Savings
21 (“Wells Fargo”); GOLDEN WEST SAVINGS
   ASSOC.; MORTGAGE ELECTRONIC
22 REGISTRATION SYSTEMS, INC.
   (“MERS”); and DOES 1 to 50, inclusive, all
23 parties unknown claiming to have legal,
   equitable, lien and estate against the subject
24 property located at 3061 Pleitner Avenue,
   Oakland, California 94603,
25
   APN: 27-861-14,
26                                                Complaint Filed:     July 6, 2021
                   Defendants.                    Trial Date:          None Set.
27

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                                       Notice of Removal
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 1            TO PLAINTIFF, ALL OTHER PARTIES, THE CLERK OF THE ABOVE-

 2 ENTITLED COURT, AND THE HONORABLE UNITED STATES DISTRICT JUDGE, AS

 3 ASSIGNED:

 4            PLEASE TAKE NOTICE that defendants Wells Fargo Bank, N.A., Mortgage Electronic

 5 Registration Systems, Inc. (“MERS”), and Golden West Savings Association hereby provide this

 6 notice of removal based on federal question jurisdiction pursuant to 28 U.S.C. sections 1441 and

 7 1331; and hereby removes to this Court the state court action described below.

 8                                     THE STATE COURT ACTION

 9            Defendants are named in the civil action filed by John Ellis on June 30, 2020, in the
10 Superior Court of California, County of Alameda, Case No. RG21103854 entitled John Ellis v.

11 Wells Fargo Bank, N.A., et al. (the “State Court Action”). Plaintiff assert two causes of action: (1)

12 violation of the federal False Claims Act, 31 U.S.C. §§ 3729-3733; and (2) violation of the

13 California False Claims Act, Cal. Gov. Code §§ 12650-12656.

14            As required by 28 U.S.C. Section 1446(a), a copy of the complaint and all other papers in

15 Defendants’ possession filed by Plaintiff or issued by the Court as of the time of filing this notice

16 of removal is attached hereto as Exhibit A.

17                                             JURISDICTION

18            This Court has jurisdiction of this case under 28 U.S.C. section 1331 because it includes

19 claims arising under a federal statute: 31 U.S.C. §§ 3729-3733.
20 Federal Question Jurisdiction.

21            This action is a civil action of which this Court has original jurisdiction under 28 U.S.C.

22 section 1331, and is one which may be removed to this Court pursuant to the provisions of 28

23 U.S.C. section 1441(b) because it arises under 31 U.S.C. §§ 3729-3733. See, e.g., Compl. ¶¶ 170,

24 172; see also Prince v. Berg, 2011 U.S. Dist. LEXIS 1071, at *2 (N.D. Cal. Jan. 3, 2011)(removal

25 proper when based on claim asserted under federal False Claims Act). Further, 31 U.S.C. §

26 3732(a) “specifically provides district courts with jurisdiction over actions under the FCA.”

27 Cummings v. Hale, 2017 U.S. Dist. LEXIS 142481, at *12 (N.D. Cal. May 17, 2017).

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 1            This Court has supplemental jurisdiction over any other claims asserted by Plaintiff

 2 pursuant to 28 U.S.C. sections 1367(a) and 1441(c).

 3                                              TIMELINESS

 4            This notice is timely pursuant to 28 U.S.C. section 1446(b) because Wells Fargo was

 5 served the complaint on or about September 15, 2021. This notice of removal is being filed within

 6 30 days of this date.

 7            Defendants Mortgage Electronic Registration Systems and Golden West Savings

 8 Association have not yet been served with the complaint, but hereby nonetheless join and consent

 9 to Wells Fargo’s removal of this action to federal court. Where there are multiple defendants in
10 this action, defendants must communicate their consent to the court by way of “an official filing or

11 voicing of consent.” Knickerbocker v. Chrysler Corp., 728 F.Supp. 460, 461–462

12 (E.D.Mich.1990).

13                                OTHER PERTINENT INFORMATION

14            Pursuant to 28 U.S.C. Section 1446(a), Defendants file this notice in the District Court of

15 the United States for the district and division within which the State Court Action is pending. As

16 such, this case is being removed to the United States District Court for the Northern District of

17 California because the State Court Action is pending in Alameda County.

18            Pursuant to 28 U.S.C. Section 1446(d), a copy of this notice with its attachments will

19 promptly be served on Plaintiff in the State Court Action, and notice thereof will be filed with the
20 clerk of the Alameda County Superior Court.

21            WHEREFORE, Defendants hereby remove Alameda County Superior Court case number

22 RG21103854 to the United States District Court for the Northern District of California.

23 DATED: October 14, 2021                       SEVERSON & WERSON, A Professional Corporation

24
                                                 By:              /s/Kerry W. Franich
25
                                                                 KERRY W. FRANICH
26                                               Attorneys for Defendants
                                                 WELLS FARGO BANK, N.A., MORTGAGE
27                                               ELECTRONIC REGISTRATION SYSTEMS, INC.,
                                                 and GOLDEN WEST SAVINGS ASSOCIATION
28

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